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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

NORFOLK DIVISION
JTH TAX, INC. d/b/a LIBERTY TAX
SERVICE,
Plaintiff,
Vv. Civil No. 2:1icv59
TROY CLARK, and

SOUTHWEST TAX STORES, LLC,
Defendants.
Third Declaration of Sarah Bosko
Pursuant to 28 U.S.C. § 1746, I, Sarah Bosko, declare under penalty of perjury that the
following is true and correct:

1. Lam over the age of eighteen (18) years and am fully competent to testify to the
matter stated in this declaration. This declaration is based upon my personal knowledge,
Liberty’s corporate and business records, and information available from Liberty’s employees
and agents.

2. Lama Corporate Paralegal for JTH Tax, Inc. d/b/a Liberty Tax Service (“Liberty”)
and a custodian of the records of its Legal Department. I have held this position since
November 2010.

3. On May 23, 2011, Liberty conducted a deposition of Troy Clark in Albuquerque,
New Mexico in this case. I personally attended and witnessed this deposition,

4. Attached as Exhibit | are true and correct copies of select pages from Volume | of
the deposition transcript of Troy Clark dated May 23, 2011.

5. Attached as Exhibit 2 are true and correct copies of select pages from Volume 2 of

the deposition transcript of Troy Clark dated May 23, 2011.
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6. On May 23, 2011, Liberty conducted a deposition of Tom Costigan in
Albuquerque, New Mexico in this case. T personally attended and witnessed this disposition.
Attached as Exhibit 3 are true and correct copies of select pages from the deposition transcript
of Tom Costigan dated May 23, 2011.

7. On May 24, 2011, Liberty conducted a deposition of Kim Gutierrez in
Albuquerque, New Mexico in this case. I personally attended and witnessed this deposition,
Attached as [Exhibit 4 are true and correct copies of select pages from the deposition transcript
of Kim Gutierrez dated May 24, 2011.

8. On or about June 10, 2011, L ordered certified copies of the corporation documents
for Freedom Tax, LLC from the New Mexico Public Regulation Commission, Attached as
Exhibit 5 are true and copies of the Articles of Organization for Freedom Tax, LLC from the
New Mexico Public Regulation Commission.

9. Attached as Exhibit 6 is a true and correct copy of the “Asset Purchase
Agreement” provided to Liberty by Troy Clark through discovery.

10. Attached as Exhibit 7 is a true and correct copy of the “Promissory Note” Clark
provided to Liberty pursuant to its discovery request.

11. Attached as Exhibit 8 is a true and correct copy of the lease for 475 Coors
Boulevard Albuquerque. New Mexico, discussed at the deposition of Troy Clark on May 23.
2011 and Kim Gutierrez on May 24, 2011.

12. Attached as Exhibit 9 is a true and correct copy of the lease for 1009 Golf Course
Rd. Albuquerque New Mexico. produced by Clark through discovery.

13. Attached as Exhibit 10 is a true and correct copy of the lease for 3118 San Mateo
Blvd. Albuquerque. New Mexico, discussed at the deposition of Troy Clark on May 23, 2011

and Kim Gutierrez on May 24, 2011.

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14. Attached as [exhibit 11 is a true and correct copy of the lease for 1449A Eubank
Boulevard, Albuquerque. New Mexico, discussed at the deposition of Troy Clark on May 23,
2011 and Kim Gutierrez on May 24, 2011.

15. Attached as Exhibit 12 is a true and correct copy of the Icase for 2130 San Mateo.
Albuquerque. New Mexico, discussed at the deposition of Troy Clark on May 23, 2011 and
Kim Gutierrez on May 24, 2011,

16. Attached as Exhibit 13 are true and correct copies of Freedom Tax checks signed
by Troy Clark and discussed at the deposition of Troy Clark on May 23, 2011.

17. Attached as Exhibit 14 are true and correct copies of “Release of Information”
forms filled out by Liberty customers requesting copies of their tax information. These
documents were produced by Clark pursuant to Liberty’s discovery request.

18. According to “Google Maps,” the Freedom Tax office located at 2130 San Mateo
Boulevard NE, Suite G, Albuquerque, New Mexico 87110 is .3 miles away from Liberty
franchisee Michael Weiss’s tax preparation office located at 2013 San Mateo Boulevard NE,
Albuquerque, New Mexico 87110. Attached as Exhibit 15 is a true and correct copy of the
web page found at http://maps.google.com/maps?hl=en&tab=w! which shows the distance
between the two offices.

19, On July 18, 2011, II accessed Liberty’s ZecNet system and printed the “Tax Year
2010 Filing Status Flow Chart” document which Liberty tranchisces distribute to customers,
Attached as Exhibit 16 is a true and correct copy of the “Tax Year 2010 Filing Status Flow
Chart.”

20, On July 18, 2011, accessed Liberty’s ZecNet system and printed the “Product

Information Sheet - Republic Bank” document which Liberty franchisees distribute to
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customers, Attached as Exhibit 17 is a true and correct copy of the “Product Information
Sheet - Republic Bank.”

21. Attached as [exhibit 18 is a true and correct copy of the January 20, 2011 letter
Liberty sent letters via UPS Overnight Delivery to Freedom Tax Service, LLC, attention to
Kim Gutierrez at 3118 San Mateo Blvd. NE, Albuquerque, New Mexico 87110: 475 Coors
Blvd. NW, Suite D, Albuquerque, New Mexico 87121; 1449A Eubank Blvd, NE,
Albuquerque, New Mexico 87112; and 1009 Gold Course Road. Suite 104, Rio Rancho, New
Mexico 87124 concerning their infringement of the following Liberty registered trademarks:

a. “Liberty Tax Service” — registration date February |, 2000 (reg. no.
2,314,991).

b. “Liberty Tax” — registration date July 3, 2001 (reg. no. 2,465,670).

c. “Liberty Tax Service” with design — registration date August 21. 2001 (reg. no.
2,479,692).

d. Statue of Liberty costume for tax preparation services — registration date
November 7, 2006 (reg. no. 3,167,134).

e. Uncle Sam costume for tax preparation services- registration date December
16, 2008 (reg. no. 3,545,630).

22. Attached as Exhibit 19 is a truc and correct copy of a printout of the gross fees
from tax returns for Freedom Tax from February 1, 2011 through April 19, 2011 produced
during discovery.

23. Attached as Exhibit 20 is a true and correct copy of a phone bill for Freedom Tax.
LLC dated November 25, 2010.

24. Attached as Exhibit 21 is a true and correct copy of the general ledger for Freedom

Tax Service.
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25. Attached as Exhibit 22 are true and correct copies of emails between Troy Clark

and Kim Gutierrez produced during discovery.

Executed on this 4 day of July 2011.
Me
SV"

Sarah Bosko
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CERTIFICATE OF SERVICE

| hereby certify that on this 3rd day of August 2001, I will clectronically file the
foregoing with the Clerk of Court using the CM/EEC system, which will then send a
notification of such filing (NEF) to the following:

Todd Gaynor, Lisg. (VSB # 47742)
Taylor & Walker, P.C.

555 Main Street, Suite 1300

P.O. Box 3490

Norfolk, Virginia 23514

Telephone number: 757-625-7300

Max number: 757-625-1504

Limail: (gaynor@taylorwalkerlaw.com

Isl
Sada L. Sheldon, Esq. (VSB #77975)
Counsel for Plaintiff
Liberty Tax Service
1716 Corporate Landing Parkway
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Telephone number: 757-493-8855
Fax number: 800-880-6432
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